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             15                                UNITED STATES DISTRICT COURT
             16                                EASTERN DISTRICT OF CALIFORNIA
             17
             18 RALPH COLEMAN, et al.,                                 Case No. Civ S 90-0520 LKK-JFM
             19                  Plaintiffs,                           [PROPOSED] ORDER ON
                                                                       PLAINTIFFS’ APPLICATION TO
             20          v.                                            EXCEED PAGE LIMIT FOR REPLY
                                                                       IN SUPPORT OF MOTION FOR
             21 EDMUND G. BROWN, JR., et al.,                          ENFORCEMENT OF COURT
                                                                       ORDERS AND AFFIRMATIVE
             22                  Defendants.                           RELIEF REGARDING IMPROPER
                                                                       HOUSING AND TREATMENT OF
             23                                                        SERIOUSLY MENTALLY ILL
                                                                       PRISONERS IN SEGREGATION
             24
                                                                       Judge: Hon. Lawrence K. Karlton
             25                                                        Date: November 5, 2013
                                                                       Time: 10:30 a.m.
             26                                                        Crtrm: 4
             27
             28
[916008-1]
                  [PROPOSED] ORDER ON PLS’ APP. TO EXCEED PAGE LIMIT FOR REPLY ISO MOT FOR ENFORCEMENT OF CT ORDERS & AFFIRM.
                         RELIEF RE IMPROPER HOUSING & TREATMENT OF SERIOUSLY MENTALLY ILL PRISONERS IN SEGREGATION
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              1          Proof of good cause having been made to the satisfaction of this Court that
              2 Plaintiffs’ application to exceed the page limit for their Reply in Support of Motion for
              3 Enforcement of Court Orders and Affirmative Relief re: Improper Housing and Treatment
              4 of Seriously Mentally Ill Prisoners in Segregation should be granted.
              5          IT IS ORDERED that the application is GRANTED. Plaintiffs may submit their
              6 Motion not to exceed a total of 35 pages.
              7
              8 DATED: _______________, 2013
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             10                                                  Lawrence K. Karlton
             11                                                  Judge of the United States District Court

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